Case 8:15-cv-00992-JAK-PLA Document 70 Filed 01/20/16 Page 1 of 2 Page ID #:2076



 1
 2
 3
 4
 5
 6
 7                      UNITED STATES DISTRICT COURT
 8               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                 SOUTHERN DIVISION
10
11   ALLERGAN, INC., ALLERGAN              Case No. SACV 15-00992 JAK (PLAx)
     SALES, LLC,
12
                     Plaintiffs,          JUDGMENT
13
14        v.                              JS-6
15   FERRUM FERRO CAPITAL, LLC;
                                           The Hon. John A. Kronstadt
     KEVIN BARNES,
16                                         Courtroom: 750
                     Defendants.
17
18
19
20
21
22
23
24
25
26
27
28

                                                 JUDGMENT
                                                 Case No. SA CV 15-00992 JAK (PLAx)
Case 8:15-cv-00992-JAK-PLA Document 70 Filed 01/20/16 Page 2 of 2 Page ID #:2077



 1            On June 19, 2015, Allergan, Inc. and Allergan Sales, LLC (collectively, “Allergan”)
 2   filed suit against Ferrum Ferro Capital, LLC (“FFC”) and Kevin Barnes (“Barnes”)
 3   (collectively “Defendants”) alleging attempted civil extortion, unfair competition, and
 4   malicious prosecution under California law related to Defendants’ filing of a petition for
 5   inter partes review regarding Allergan’s U.S. Patent No. 7,030,149. (D.I. 1)
 6            On August 10, 2015, Defendants filed a motion to strike Allergan’s complaint
 7   under California’s anti-SLAPP statute (D.I. 26), and a motion to stay discovery (D.I. 28).
 8            On September 1, 2015, the Court sua sponte issued an Order to Show Cause “with
 9   respect to whether this Court has subject matter jurisdiction over this action.” (D.I. 43
10   at 2.)
11            On September 14, 2015 Allergan and Defendants filed simultaneous briefs in
12   response to the Court’s September 1, 2015 Order to Show Cause regarding subject
13   matter jurisdiction. Both parties argued that the Court had federal subject matter
14   jurisdiction. (See D.I. 50 & 51.)
15            On October 13, 2015, Allergan filed a motion to (1) file a First Supplemental
16   Complaint, and (2) strike certain arguments advanced by Defendants. (See D.I. 63.)
17            On October 19, 2015, the Court held a hearing in the case. The sole issue heard
18   by the Court was related to whether the Court had subject matter jurisdiction.
19            On December 28, 2015, the Court issued an order dismissing the case, without
20   prejudice, for lack of federal subject matter jurisdiction. (See D.I. 67 at 11.) The Court
21   further denied as moot all other pending motions in the case. (Id.)
22            The Court HEREBY ENTERS JUDGMENT dismissing the case, without
23   prejudice, for lack of subject matter jurisdiction. Each party shall bear its own fees and
24   costs.
25            IT IS SO ORDERED.
26   Date: January 20, 2016                            _____________________________
                                                       The Honorable John A. Kronstadt
27
                                                       United States District Judge
28
                                                   1
                                                        JUDGMENT
                                                        Case No. SA CV 15-00992 JAK (PLAx)   )
